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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 PULSEDATA, INC.,
                                                      Case No. 1:23-cv-03653 (JMF)
                                   Plaintiff,
               v.                                      DECLARATION OF STEVEN J. PACINI IN
                                                       SUPPORT OF MOTION TO ADMIT COUNSEL
                                                       PRO HAC VICE
JUNG HOON SON,

                                   Defendant.


I, STEVEN J. PACINI, declare as follows:

       1.           I am counsel at the law firm of Latham & Watkins LLP, and I am counsel for

Plaintiff pulseData, Inc. I respectfully make this declaration in support of my Motion to Admit

Counsel Pro Hac Vice. I have personal and first-hand knowledge of the facts set forth in this

declaration.

       2.           I have been a member in good standing of the Bar of the State of Massachusetts

since December 4, 2009. Attached as Exhibit A is a Certificate of Good Standing from the State

of Massachusetts, which was issued on July 6, 2023.

       3.           I have never been convicted of a felony or been the subject of any criminal

conviction. I have never been censured, suspended, disbarred, or denied admission or readmission

by any federal or state court in the United States. I have never been the subject of a disciplinary

sanction, and there are no disciplinary proceedings presently pending against me.

       Wherefore your declarant respectfully submits that he be permitted to appear as counsel

pro hac vice in this one case on behalf of Plaintiff pulseData, Inc.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: July 6, 2023
                                                                         /s/ Steven J. Pacini
                                                                         Steven J. Pacini
